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                   EXHIBIT 9
            (File Under Seal)
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                    **ROUGH***Deposition of Tony Figueroa*** ROUGH***           1

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 2                             Virginia L. Giuffre
                                        v.
 3                              Ghislaine Maxwell
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19   deciphered by non-stenotypists.                      Corrections will be
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                    **ROUGH***Deposition of Tony Figueroa*** ROUGH***             2

 1   START TIME: 8:57 a.m.
 2                 THE COURT REPORTER:                 Do you declare under
 3          penalty of perjury to tell the truth, the whole
 4          truth, and nothing but the truth?
 5                 THE WITNESS:
 6                 THE VIDEOGRAPHER:                 In the mart /O*F
 7          Virginia L Jeffrey verses Ghislaine Maxwell.
 8          Today's date June 24, 2016, and time is
 9          8:59 a.m. this is videotaped deposition of Tony
10          Figueroa.        Counsel please truce /THEFL after
11          which the court reporter will swear in the
12          witness.
13                 MR. EDWARDS:            Brad adards I represent
14          Virginia Giuffre.              And Virginia Giuffre is here
15          with me as well.
16                 MS. MENNINGER:             Laura manager on behalf of
17          gelen Maxwell, the Defendant.                      She is not here.
18   (Off the record at             9:01 a.m.).
19          A      Yes.
20                 MS. MENNINGER:
21          Q      Good morning?
22          A      Good morning.
23          Q      Can you state your full name and spell
24   your last name for the record?
25          A      My name is Anthony Lewis Zach Figueroa

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 1   /EUFPB 2001?
 2                 MS. MENNINGER:             /TPOPBLGZ form /TPOUPBLZ.
 3          A      No.
 4          Q      How do you know that?
 5          A      Because she did not have a job anywhere
 6   else.
 7          Q      How frequently during that period of time
 8   would she be going over to Jeffrey epistipes house?
 9                 MS. MENNINGER:             Object to the form
10          foundation.
11          A      When I was with her she would go over
12   there two weeks out of every month.
13          Q      And how often what is the frequency you
14   would be the person take her to his house?
15                 MS. MENNINGER:             /TPOPBLGZ form /TPOUFRPZ.
16          A      Pretty much whenever she was leaving to go
17   on a trip I would drive                her there.
18   BY MR. EDWARDS:
19          Q      Times when she went therein during the day
20   and came back that night?
21          A      Yes.
22          Q      And would you be the person that drove her
23   on those occations too?
24          A      No.
25          Q      She would drive herself on those

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 1   occasions?
 2          A      Yeah.
 3          Q      Were there times when you drove her to the
 4   airport, the private airport?
 5          A      The private airport I picked her up from.
 6   I never drove her there.
 7          Q      Did you see epi/SPAOEPB airplane at the
 8   airport?
 9          A      Yes.
10          Q      What did it look like?
11          A      Object form.
12          A      A big black leer jet I guess it was.                     I
13   don't know. It was a              pretty nice black jet.
14          Q      Did you observe Virginia entering or
15   exiting that airplane?
16          A      Yes.
17          Q      And other than Virginia what other people
18   did you observe entering or exiting that airplane?
19          A      I'm pretty sure Jeffrey and Ms. Maxwell
20   were both there.
21          Q      Can you tell me the first time that you
22   met Ms. Maxwell.           Describe that occasion?
23          A      Like I said we were just pretty much I was
24   in the house hang out and she was in the kitchen she
25   was there one of the times I guess.                         And pretty much

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 1          Q      How many times did you go to Jeffrey
 2   epi/STAOEPBZ pool area?
 3          A      Like three times.
 4          Q      And on the three occasions that you went
 5   to Jeffrey epi/STAOEPBZ pool area who else was by
 6   had pool parea?
 7          A      I understand nobody like I was liltry just
 8   sitting out there by myself waiting for her to get
 9   done talking with him. But pretty much everytime I
10   was at that house there was just random girls the
11   chef and Ms. Maxwell.
12          Q      At this time in 2000 one your how old are
13   you.    What is your           date of birth?
14          A      March 4th 1982. I'm 34.
15          Q      Okay. So in 2001 you about 19?
16          A      Yeah.
17          Q      When you were at Jeffrey epi/STAOEPBZ
18   house and by the pool?
19          A      Uh-huh.
20          Q      I your describing other girls that were in
21   had house did youknow these other hours?
22          A      No they were like fraught different
23   countries.
24          Q      Hoe did you know they waere from different
25   contries?

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 1          A      Because whenever they would talk or I
 2   would hear them say blah blah or she would tell me
 3   this girl was this place and that girl was thaw that
 4   place.
 5          Q      Would could tell from the accent?
 6          A      Yeah.
 7          Q      Would you ever talk to these girls?
 8          A      Not really.           I mean sometimes I would.
 9   But not like a conversation about asking what they
10   were doing ear.
11          Q      At this time 19 years old.                      Can you tell
12   me what the age range of these girls you describing
13   that are foreign girls at Jeffries house?
14                 MS. MENNINGER:             Objection form
15          /TPAUFRPBGZ.
16          A      They looked about Virginia's age.                      They
17   all looked about that about 17, 18.                         But I don't
18   know.      I did not ask hem how old they were so I
19   don't know the exact number.
20   BY MR. EDWARDS:
21          Q      Okay. And when you were in the house by
22   the pool by yourself you said Virginia was just I
23   guess describing one occasion Virginia was just talk
24   to them?
25          A      Jeffrey I don't know about what.

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 1          Q      Was Ms. Maxwell the?
 2          A      I'm not sure I know she was only there 5
 3   or six times out of the whole time I was with her
 4   that I met her.
 5          Q      All right. And each of the five or six
 6   times that you met Ms. Maxwell do I understand it
 7   correctly that it was inside Jeff sephouse?
 8          A      Yes.
 9          Q      Each of the 5 or six times that you met
10   Ms. Maxwell inside of               Jeffrey's house was your
11   conversation with her always fairly similar stoowhat
12   you described?
13          A      Yeah, it was never like I never talked to
14   her as I would like Jeffrey.                    Like she never set
15   down with me I had a conversation 0 high how you
16   doing blew blew ahow doing and that would be it.
17          Q      Okay.
18          Q      And when St. The first time you met
19   Jeffrey Epstein in relationship the the first time
20   you met Ms. Maxwell.              Meaning did you meet him
21   first.     Second?
22          A      I met Jeffrey first.
23          Q      How did how were you introduced to Jeffrey
24   Epstein?
25          A      Just high this is Jeffrey this is Tony,

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 1   you know, just casually.
 2          Q      When is the first time that you were asked
 3   by anyone to bring other girls Jeff /AEF
 4   epi/STAOEPBZ house?
 5          A      Pretty much right after she left.                      When
 6   she would go on trips.                They would just ask me if I
 7   would find like Jeffrey would say when you get back
 8   find more girls to have here blue blue this and
 9   that.      And then after she went to thiland when he
10   was calling me searching for her he would throw that
11   in there randomly do you                 have any girls.           And then
12   where is Virginia at.               Like trying to seem like he
13   was trying to get more information about her than
14   anything after she left but make it seem like still
15   wanted me to be around kind of.
16          Q      Okay.
17          A      But I don't know exactly.
18          Q      Okay. So in the beginning?
19          A      Uh-huh.
20          Q      Of your going over to Jeffrey Epstein
21   house primary it was just you and Virginia?
22          A      Yeah,.
23          Q      At someintp point in time Virginia starts
24   recruiting other girls to go to the house; is that
25   right?

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 1          Q       Describe for us what these girls looked
 2   like that were being brought to the house?
 3                  MS. MENNINGER:             Object to the form found
 4          vague time to place.
 5   BY MR. EDWARDS:
 6          Q       Sorry let me prephrase the question during
 7   this 2001 period if you were driving Virginia and
 8   another girl to the house, what type of girls would
 9   you be driving?
10                  MS. MENNINGER:             Form form foundation.
11          A       Pretty much like young looking teenager
12   girls 16, 17, really pretty.
13          Q       How did you know that's what was being
14   requested that that age range and that look and?
15          A       I just assumed that that's what most guys
16   are into.
17          Q       Girls that looked like Virginia?
18          A       Yeah.
19          Q       When you would bring girls over to the
20   house were you looking for some sort of professional
21   mussuese or massge experience?
22          A       Just get friends that I knew from school.
23          Q       And that's what Jeffrey wanted?
24          A       Yeah.
25                  MS. MENNINGER:             Object form founds.

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 1   BY MR. EDWARDS:
 2          Q       How did you know what Jeffrey wanted?
 3          A       That's what he asked me.
 4          Q       What would he ask you?
 5          A       Ask     me to try to find gills a resem
 6   believed like somewhat that type.
 7          Q       And when you would bring these girls that
 8   resem believed Virginia or some type would Jeffrey
 9   Epstein pay you?
10          A       Yes cension form /STKPWHROUPBGZ.
11          Q       Would Jeffrey pay you every time?
12          A       Ojbection form foundation.
13          A       Yes.
14          Q       And how much would he pay you foreach girl
15   that you brought to him?
16          A       Object form founds.
17          A       Two hundred dollars apiece.
18          Q       Where would this transaction tace place?
19          A       Object to the form.
20                  MS. MENNINGER:             Object to the form
21          /TPOUFRPBLZ the living room.
22   BY MR. EDWARDS:
23          Q       And how much money do you think overall
24   Jeffy epistein paid you for bringing girls to him?
25          A       Me personal or us together.

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 1          Q       Sure. How how often did Jeffy Epstein ask
 2   you to bring girls to the house?
 3          A       Pretty much as much as possible like he
 4   would tell us as men girls we could bring the
 5   better, so...
 6          Q       When you say us who are the us?
 7          A       Me I Virginia.
 8          Q       So walking me through an example of that
 9   you would go thohouse with Virginia and describe
10   what would happen that ultimately let to this
11   conversation that you just describe would Jeff /AEF
12   Epstein?
13          A       Well because /THRAOEU explain that.
14          Q       Sure you I Virginia my initial question
15   was I think you initial answer was is as often
16   Jeffrey bring girls to him as muffin as possible as
17   many osto us.          Us being you I Virginia.                      So walk ame
18   through an example go thohouse and then where do you
19   have this discussion where did you have this
20   discussion what words did he use what did he tell
21   you specifically?
22          A       Specifically he just said see if you can
23   find firls. It was in the living room.                              There's a
24   little desk that is where I normally talk to him. He
25   would sit behind the so you have any nor girls you

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 1   want to beak in a cupp for nis weekend and like I
 2   said pretty much every time I went there if I knew
 3   /KPWEBLS I could bring to him I started bring ilto I
 4   guessee liked then they would start doing stuff
 5   without me so then slowy just fading out, you know.
 6          Q       Squat this point Jeffrey Epstein in the
 7   living room and Virginia to bring other girls?
 8          A       Uh-huh.
 9          Q       Was he using the world massage anymore?
10          A       No,ee did not say anything like that just
11   is saying to bring them.
12          Q       At that stage where this conversation a
13   happening dud you already settle conversation and
14   Virginia you knew what was actually at the house as
15   apoid I'ma masagge therapist?
16          A       I'm not positive but I don't doubt it.
17          Q       Once you were hin house with Virginia and
18   you were having these conversation with Jeffy
19   Epstein was it obviously to you whata happening that
20   house?
21          A       I mean it was obvious to me.                         Like I said
22   I never witnesses any of the stuff so...
23          Q       Of course?
24          Q       What would you tell the girls that you
25   would bring to Jeffrey's what the did you del the

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 1   Jeffries house to get them to the house.
 2          A       Well I told them that it was for a
 3   massage. And I told them obviously that if people
 4   when they get massaged I don't know going to expect
 5   more from you or not.                If he does tell him know it's
 6   up to you       if you want to go.                 And they would still
 7   do it it.
 8          Q       How did you know to use the word massage
 9   to get the girls to Jeffrey epi/STAOEPBZ house?
10          A       I did not want to straight up be like why
11   don't you jerk this guy off for money so...
12          Q       You thought that was a better way to get
13   them to the house?
14          A       Yeah, sounded a little bit more
15   professional aguess not as bad.
16          Q       Okay.
17          Q       When you brought other girls to the house
18   aside from Virginia where was elenmax in the house?
19          A       Object form /STKPWHROUPBZ brought other
20   girls to the house aside from Virginia was
21   Ms. Maxwell in the house?
22          A       Yes.
23          Q       Where was Ms. Maxwell in the house when
24   you brought other girls to the house aside from
25   Virginia?

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 1          A       In the kitchen.
 2          Q       And on these occasions would you see
 3   Ms. Maxwell in the kitchen?
 4          A       Yes.
 5          Q       On these occasion when you would bring
 6   girls other the Virginia to the house and
 7   Ms. Maxwell was in the kitsch would Ms. Maxwell see
 8   the girl you brought to the house?
 9          A       Yes.
10          A       Form foundation.
11          Q       And when you would brink these girls other
12   than Virginia to Jeff /AEF epi/STAOEPBZ house I see
13   Ms. Maxwell in the kitchen were you with the girl
14   that you just brought?
15          A       Yes.
16                  MS. MENNINGER:             /TPOPBL form foun.
17   BY MR. EDWARDS:
18          Q       I during these occasion what conversation
19   if any did Ms. Maxwell have knyefe girls you
20   brought?
21          A       Not much pretty mump like I said when I
22   take the girls all it would just a friendly
23   conversation with everybody and just high what's
24   your name asking about what they do and where they
25   are and stuff like that.                  It was never anything like

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 1   sexual talk or anything like that.
 2          Q       Okay. So just so have a good image of that
 3   bring a girl authority when you brought a other than
 4   verge into -- what door did you enter Jeffrey
 5   Epstein's house?
 6          A       When you pull up to his house a walkway
 7   where higarage is like off to the side that's the
 8   bay I always go.
 9          Q       I know the sider door by the kitchen?
10          A       Yeah.
11          Q       So on one of occasions if you can think to
12   one of the occasion brought a girl into the kitchen
13   other than Virginia?
14          A       Uh-huh.
15          Q       And Ms. Maxwell an in the kitchen, did you
16   and this /OEURT girl that you were bringing over sit
17   there and together have this small stalk and
18   McMaxal?
19          A       Yeah.
20                  MS. MENNINGER:             Fom form foundation.
21          A       Yes.
22          Q       And how long would you and one of these
23   other girls sit there and have this small talk with
24   Ms. Maxwell?
25          A       No more than 10 or 15 minutes.

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 1          Q       What were you waiting for?
 2          A       Pretty much her to take them up stairs
 3   then I would leave.              I would wait for them to be
 4   like we're ready.             And I would be all right. See you
 5   later and I would leave.
 6          Q       You were waiting for who to take who up
 7   stairs?
 8          A       I had seen Ms. Maxwell take a girl up
 9   there well not up there visibly but I watched her
10   leave had room with one.
11          Q       Up stairs?
12          A       Well, I didn't see the stairs.                       Like in
13   the kitchen there's not like you have to go all
14   around and all that shit.
15          Q       Let me just understand what you did see
16   then.      So you brought a girl over.                     We're talking
17   about an instance where you brought another girl
18   over to the house?
19          A       Yes.
20          Q       And your in the kitchen with this other
21   girl and Ms. Maxwell?
22          A       Yes.
23          Q       And what did you actually see in terms of
24   of where did that girl and with whom?
25          A       I just saw them leave the room.

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 1          Q       Together?
 2          A       Together.         And assumed that they were
 3   heading up to massage room.
 4          Q       Because that was the purpose of bringing
 5   her over?
 6                  MS. MENNINGER:             Objection.
 7          A       Yeah.
 8                  MS. MENNINGER:             Form founds.
 9   BY MR. EDWARDS:
10          Q       When during that circumstance?
11          Q       So you undderstand the circumstance I'm
12   talking about you bring a girl into the kitchen and
13   Ms. Mackle is in the kitchen?
14          A       Uh-huh.
15          Q       And you see Ms. Maxwell and this girl
16   leave the kitchen?
17          A       Yes.
18          Q       When during that circumstances do you get
19   paid?
20          A       I gid paid before anything happens period.
21   I walk in the door talk to Jeffrey and then he hands
22   me my money walk back to kitchen say by and leave.
23   And then like I said at some point and seen her
24   before when I was leave walking the girl out the
25   living room out through the kitchen.                           So she could

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 1   have taken up stairs she could have not but I
 2   definitely seen her walking.
 3          Q       On how many occasionings?
 4          Q       /KWROPBLT might I told me this but how
 5   many occasion did you bring girls into the kitchen
 6   and the three of you, you the girl you brought and I
 7   /STKPWEULian Maxwell have conversation?
 8          A       Not many. I only met her maybe six times.
 9          Q       Each of the times you met gillian Maxwell
10   in    Jeffrey epi/STAOEPBZ house did you have girls
11   that were being brought to Jeffrey?
12          A       Everything time at the house it was either
13   with Virginia or some girl.                    I never went there by
14   myself.
15          Q       He did not have a use for you?
16          A       Yeah, he did not need me.
17          Q       All right. That beginning of the
18   deposition I believe tell me if I got this wrong I
19   believe talk about it time Virginia just gone to
20   thiland talking to you in telephone?
21          A       Uh-huh.
22          Q       And you believe Jeff /AEF was supposed to
23   pay the phone bill; is that correct?
24          A       Yeah.
25          Q       Why did you believe Jeffrey Epstein was

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 1   lead to where is she, so...
 2          Q       How did Jeffrey Epstein have you telephone
 3   number?
 4          A       I would imagine from Virginia.
 5          Q       Okay. What prior to her going did he call
 6   you on the telepone?
 7          A       I mean sometimes he would have his
 8   assistant call thee but he did call me sometimes.
 9          Q       Which assistant call you of jiffy
10   sep/STAOEFRPBZ I can't remember her name but his
11   main asigh?
12          Q       Would sarah callin cal lyou?
13          A       I believe that's her.
14          Q       Gillian Maxwell call you?
15          A       I think she           might have once or twice.
16   I'm not positive but I'm pretty sureee did.
17          Q       Would the calls that gill wherein Maxwell
18   made to you been during the time that you were
19   living with Virginia or after Virginia had left?
20          A       It was while living together.
21          Q       And what would be what did Virginia what
22   did gillian Maxwell say to you when she called you
23   while living?
24          A
25                  MS. MENNINGER:             Objection miscontact when

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 1          watt.
 2          A       And what say what did he say?
 3          Q       Yes.
 4          A       Just ask mead had anybody else lined up.
 5          Q       Anything else lined up for what?
 6          A       Objection form /TPOUFRPBLDZ.
 7          A       For Jeffrey.
 8          Q       Let me fix this.               Gill when gillian
 9   Maxwell would call you during the time that you were
10   living with Virginia she would ask you what
11   specifically?
12                  MS. MENNINGER:             Fom form foundation.
13          A       Just if I had found any ear girls just to
14   bring the Jeffrey.
15          Q       Okay.
16          A       Pretty much everytime a conversation with
17   any of them it was either asking Virginia where she
18   was ask the asking her to get girls or asking me get
19   girls.
20          Q       Let's go to that second categorying you
21   just identified asking Virginia to get girls.                         How
22   many times were you in a room where specifically
23   gill max would ask Virginia to bring girls?
24          A       Not that I can recall.
25          Q       How many times when you say thigh asked

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 1          Q       How often would Virginia according to
 2   Virginia how much would Virginia and /PH*BGS maxal
 3   go out look forg girls?
 4          A       I stopped asking after a while.                      I would
 5   imagine every time but I don't recall.
 6          A       Every time when she was telling you or you
 7   were asking that's what was happening.
 8          A       Yeah.
 9          Q       All right. And going back to when he
10   finally told you that having sex with these people?
11          A       Uh-huh.
12          Q       It was the people she told you that she
13   was having sex with Jeffp /STAOEPB Ms. Mackual
14   andthol other girls did you understand all the other
15   girls were?
16          A       I just assumed justthol girls that heever
17   had at his house I never on a personal basis with
18   pretty much anyone except for the ones I went to
19   school with so...
20          Q       And?
21          Q       Of the girls brought to had us or that you
22   observed Virginia bring to the house how many of
23   them were professional masuesses?
24          A       Zero.
25          Q       What was the age range of the girls that

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 1   you start with you that you brought with Jeffy
 2   Epstein.       Object to the form foundation?
 3          A       Well had age-age brought for sure were
 4   around my age. I met them through school people
 5   where knew actually hung out with.
 6          Q       What were the age range of the girls your
 7   observe thad Virginia brought to the house?
 8                  MS. MENNINGER:             Object to the form
 9          foundation.
10          A       I like I said I never asked them how old
11   they all seemed like there were younger.
12          Q       Are you bring you bring 253540 year olds
13   to the house?
14          A       No.
15          Q       So within a range?
16          A       I'd say probably 16 to 19.
17          Q       Okay.
18                  MS. MENNINGER:             /TPOPBLG /TPORP foundation
19          sore slipping it in afterwards but...
20   BY MR. EDWARDS:
21          Q       Yousaid when you were at the house you saw
22   naked photos what is the naked photo?
23          A       Pictures of people naked.
24          Q       Photohad ezpeople that were faked?
25          A       Yeah.

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 1   /STKRAUP /UPD some a/KAEUZsiobe the inside.
 2          A       Yes.
 3          Q       Hung out the by had pool?
 4          A       Yes.
 5          Q       On the /KWEUFPB?
 6          A       Yes?      And in total of the times you went
 7   if soohad house you saw Ms. Maxwellout gut tall ix.
 8          A       Five or six times.
 9          Q       Total?
10          A       Tote.
11          Q       Not fix?
12          A       /PAOERLD all together.
13          Q       /WROU brought?
14          A       All together period.
15          Q       I thought you said asking you questions
16   that Ms. Maxwell ever Jude bring girls?
17          A       I don't remember saying had a.
18          Q       Tell me when did Ms. Macual ask row to
19   bring a girl?
20          A       Never /EUFRP person like liltally on it
21   phone once or twice.
22          Q       Did Ms. Maxwell call you /TPR-BGSly?
23          A       No.
24          Q       How many times do you think Ms. Mackle?
25          A       Ever just a few couple times onceoy twice.

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 1          Q       /PHUPLG ort of /TAOEUFPL pretty much his
 2   assistant?
 3          Q       How do you know /PH*GS Maxwell's voice?
 4          A       Sounds British.
 5          Q       So-so someone British acthe /SHAOEFRPBLG
 6   told me who she was?
 7          Q       And what did see say wheni called you
 8   asked you to bring gills?
 9          A       High a gillian Jeffy wandering had anybody
10   to could come /STKPWHROEFRB when did that happen.
11          A       I'm not exactty shirr of time /TPRAEUFPL.
12          Q       After the road house grillo /PW-F?
13          A       Probably I would think before I'm pretty
14   sure pretty positive.
15          Q       /TPWH-FR /HOED house grill wray?
16          A       After started going back to work with
17   Jeffrey /STAUPLD talking to her went back to him I
18   never Todd to Ms. Mackual again after the had to
19   been before that.
20          Q       When /TKPEUD you stop talking to?
21          A       Just /TWAOEPBT there never like she was
22   anything more than a high how are you kind a thing
23   not like when I talked to Jeffy ask me about stuff
24   and hold an information with her just hay hours your
25   mom see yeah not anything detail.

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 1          A       /HRO*EUTSeredered not like debate that.
 2          Q       So you waiver reading it if you like all
 3   right. Thank you very much for you time?
 4   (Off the record at              1:23 p.m.) order order.
 5                  MS. MENNINGER:             Orderered.
 6   BY MS. MENNINGER:
 7          Q
 8                  MR. EDWARDS:            Yeah I wand a copy.
 9   Cology dense said.              /EUFPLTS disc
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